Case: 1:15-cv-05963 Document #: 23-3 Filed: 07/16/15 Page 1 of 149 PagelD #:1249

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Oakley Juliet Sunglass
Oakley Lifestyle Sunglass
Oakley Limited Editions
Oakley Photochromic
Oakley Pit Boss Sunglass
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Oakley Pro M Frame

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oft) =15 1) (o4|=t) Hane ts FAQ

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a A: We offer all of the products at lowest cost shipping

.3: How long does it take for shipping?
+ Oakley 2013 Limited Q S =
o A: We ship by EMS service, It takes about 7-25 business days

» Oakley Active Sunglass ~
Q.4: Can I return or exchange it if I feel it is too small or too big?

* Oakley Asian Fit Sunglass A: Of course, Please refer to our return and exchange policy

t Cakiey Crongrese,sugiess: Q.5: Can we do drop shipping and wholesale?

» Oakley Deringer Sunglass A: Yes, we do, Please refer to our wholesale policy

» Oakley Dispatch Sunglass Q.6: Why does my payment fail?
+ Oakley Flak Jacket Sunglass A Sater this: one customer can only pay once on one computer so, if you want buy two or more, please
pay together

» Oakley Frogskins Sunglass
Q.7: Why your items so cheap?

* Oakley Fuel Cell Sunglass A: We stock our products from factory directly and sale online without paying the cost of our physical store

» Oakley Gascan Sunglass Therefore we don't need to pay the taxes and cooperate with the transportation company, providing you the
preferential price and lowest cost shipping

* Oakley Hijinx Sunglass

Q.8: Can I shipping my items to a different address nor my billing address?

A: Yes, you can ship items to a different address. When you choose the right oakley sunglasses products and

* Oakley Juliet Sunglass check out, you can fill the nght shipping address by prompt for login information

* Oakley Jawbone Sunglass

* Oakley Lifestyle Sunglass Q.9: Can I track the package online?
+ Oakley Limited Editions A: Yes,you can track your package online. Once we ship your package out, we will email the tracking number to
you. The tracking number will be available in 24~48 hours

» Oakley Photochromic
Q.10:How long does it take for delivery?

* Oakley Pit Boss Sunglass A: Shipping takes 7-25 days worldwide. A tracking number will be sent to you within 48 hours so you can track

» Oakley Plaintiff Sunglass the progress of your order online. Please allow up to 5 days for the shipping company to update the information
on their website_Shipping is Guaranteed.

* Oakley Polarized Hijinx

Q.11: What should I do if I never received the shipment?

A: The rule is simple if you did not receive the item in a month from when it was sent out, we will fully refund

* Oakley Radar Path Sunglass you payment

* Oakley Pro M Frame

* Oakley Radar Sunglass Q.12: Is your website secure to order from?

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+ Oakley Special Editions A: Yes, we use a 128 bit Secured Socket Layer (SSL) technology to ensure the security of you on line purchase

» Oakley Star of Sunglass Q.13: How can I know my order status?
A: Once we send the products, we will give you a tracking number, with which you can check your order online
* Oakley Womens Sunglasses We are also keeping an eye on your bags until they reach you

2 Cobley: x Squared Q.14: What kind of payment do you accept?

A: We currently only accept credit card including Visa and Master
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Q.15: What should I do if the items were damaged upon receipt?
A: If the items were damaged or defective upon receipt, please inform us immediately, our customer service
representative will be ready to take care of your matter all the way.

Q.16: How long does it take for my order to be processed?
A: It only takes 12~24 hours to process your payment, an email confirmation with receipt will be sent to you
once your order has been approved

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Case: 1:15-cv-05963 Document #: 23-3 Filed: 07/16/15 Page 12 of 149 PagelD #:1260

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Last Name: |Murphy e
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Country: | United States _ ve

Additional Contact Details
Telephone: [708-553-0101 |=

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708mm@gmail.com_

Email Address:

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S Oakley Pro M Frame Sunglass ABOUT OAKLEY
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) Oakley Special Editions Sunglass one of the most famous brand in this world. Everything we make, advocate or engage in reflects

the attributes of the brand. Our responsibility to our internal and external customers calls for
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impeccable service to ensure that their needs are always met.

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ee Pe eae Our website has become an international online store selling varieties styles of Oakley sunglasses.

) Oakley X Squared Sunglass By treating customers like guests in our own home, we have establishes long-term relationships
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Your Personal Details

Address Details

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Last Name: Scott

Street Address: [2120 Cleveland St.
Address Line 2: [

City: |Evanston |*
State/Province: [Illinois _ “| ®

Post/Zip Code: 0202 _ == |]

Country: [United States v) E
Additional Contact Details

Telephone: |847-491-5560 \2
Login Details

Email Address: [milleramy443@gmail.com re
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